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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 VICTORIA MONAHAN,
                                 Plaintiff,

                     -against-                             22-CV-06016 (JLR)

 NORTHWELL HEALTH, INC and NORTH                           ORDER
 SHORE UNIVERSITY HOSPITAL,
                                 Defendants.


JENNIFER L. ROCHON, United States District Judge:
        The Court is in receipt of the parties’ joint letter, dated October 11, 2022, filed in

response to the Court’s September 26, 2022 Reassignment Order. ECF No. 26.

       Defendant reports that it will withdraw its Motion for Summary Judgment, filed on the

docket as a Motion to Dismiss. ECF No. 26 at 2. The Clerk of Court is respectfully directed to

terminate the motion at ECF No. 13. Accordingly, Defendant shall answer the complaint by

November 1, 2022.

       The parties shall submit a status report on the outcome of their mediation by November

16, 2022.

       Additionally, IT IS HEREBY ORDERED that the parties shall appear for a pretrial

conference on November 30, 2022, at 3:00 p.m. in Courtroom 20B of the Daniel Patrick

Moynihan United States Courthouse, 500 Pearl Street, New York, New York, 10007.

Dated: October 12, 2022                                        SO ORDERED.
       New York, New York

                                                               JENNIFER L. ROCHON
                                                               United States District Judge
